Case 1:21-cv-23155-KMM Document 37-2 Entered on FLSD Docket 05/10/2022 Page 1 of 17



                                                                         Page 1

    1                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
    2
    3
              TROY CLOWDUS,
    4
                       Plaintiff,
    5                                                           CASE NO.
             V.                                                 1:21-CV-23155(MM)
    6
                                                                CIVIL ACTION
    7
             AMERICAN AIRLINES, INC.,
    8
                       Defendant.
    9         ------------------------------/
  10
  11
                  VIDEOTAPED DEPOSITION OF FEDERICO QUINTANA-VALLEJO
  12                        (Conducted Via Videoconference)
  13
  14
                    DATE:              March 22, 2022
  15
  16
  17               TIME:                1:05 p.m. to 3:25 p.m.
  18
  19
                    REPORTED BY:        TRICIA J. MARCH
  20                                    Notary Public
                                        State of Florida
  21
  22
  23
  24
  25              Job No. CS5141192

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Case 1:21-cv-23155-KMM Document 37-2 Entered on FLSD Docket 05/10/2022 Page 2 of 17



                                                                    Page 2

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                                                                          Page 12

    1       boarding process was, in any way, inappropriate?

    2             A.      No.

    3             Q.      All right.       So the boarding process is

    4       proceeding.     This gentleman in the first row sits down,

    5       you sit down, and the rest of the plane boards, I guess,

    6       after business class boarded.              Is that correct?

    7             A.      I was one of the last persons to board the

    8       plane.

    9             Q.      Okay.    After you boarded the plane, were there

   10       any overhead PA instructions to stow carry-on baggage,

   11       that you recall?

   12             A.      Yeah.

   13             Q.      About how many of those do you recall?

   14             A.      More than two, less than ten.

   15             Q.      As a flyer of commercial passenger aircraft

   16       for 15 years, did you need an overhead instruction to

   17       stow your personal belongings before departure?

   18             A.      No,   I did not .

   19             Q.      Okay.    Do you recall this male flight

   20       attendant approaching the gentleman who we'll refer to

   21       as -- as Mr. Clowdus, in the first row, to specifically

   22       provide him any instructions during the boarding process

   23       or after?

   24             A.      I do, yes.

   25             Q.      All right .      On how many occasions did you see

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                                                                       Page 13

    1       this flight attendant approach Mr. Clowdus?

    2             A.       At least three .

    3             Q.       All right .      Can you describe what you observed

    4       during the first occasion?

    5             A.       Yeah.   He went over to this gentleman and

    6       asked him to please put on his face mask properly and

    7       to         to please put whatever it was that he was carrying

    8       on as a carry-on on the overhead bins.

    9             Q.       Okay.   And what was the flight attendant's

   10       demeanor during that conversation if -- if -- if you

   11       recall?

   12             A.       None so different from him having to give

   13       instructions to other passengers .

   14             Q.       Okay.   Was his conduct -- was his demeanor on

   15       that occasion, in any way, inappropriate in your

   16       experience?

   17             A.        I don't think so, no.

   18             Q.       Were you able to tell if Mr . Clowdus complied

   19       with those instructions?

   20             A.       He didn't comply .

   21             Q.       How could you tell that?

   22             A.       He was still wearing his face covering

   23       incorrectly.

   24             Q.       All right .      And what about the bag?   Did you

   25       see if he had stowed his bag?

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                                                                        Page 14

    1             A.     No, I didn't see if he had stowed his bag or

    2       not -- or not .

    3             Q.     And can you describe, for me, the second

    4       occasion when y ou observed the male flight attendant

    5       approach Mr . Clowdus?

    6             A.     It went pretty much the same as the first one .

    7             Q.     What was Mr . Clowdus's reaction to this second

    8       occasion of the flight attendant approaching him?

    9             A.     As far as actions are concerned, he, once

   10       again, failed to compl y with the instruction to put on

   11       his face covering correctly.

   12             Q.     All right .      What was the -- what was

   13       Mr . Clowdus' demeanor if -- if you could see it?

   14             A.     Oh, like, he was             he was pretty calm.

   15             Q.     Okay .   And again, what was the flight

   16       attendant's demeanor during this conversation?

   17             A.     Again, not so different from having to tell

   18       other passengers instructions.

   19             Q.     Okay.    And describe for me the third occasion

   20       when you saw the flight attendant approach Mr . Clowdus .

   21             A.     So it was -- it -- like, at -- at this point

   22       during the flight I am already paying attention to what's

   23       going on .

   24                    So he -- he approaches the gentleman and says

   25       something along the lines of,           "Please don't make me tell

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                                                                         Page 15

    1       you again."     And he asks him, once again, to put on his

    2       face covering correctly and to -- and to stow his

    3       carry-on in the overhead bin .

    4                     And -- and, you know, usually when you sit in

    5       any given airplane seat, you can stow things under the

    6       front seat right -- right in front of you under -- right

    7       under where they would have sat down .             But because he was

    8       on the front row, there was no space for such storage.

    9                     And so he -- he grabbed something that looked

   10       like a toilet -- toiletry bag, a leather toiletry bag,

   11       dark color, maybe brown or black, and he swung it towards

   12       the left side, towards -- towards the flight attendant

   13       and he -- he -- he sort of hit him with the bag on the

   14       on the flight attendant's left side of his -- of his

   15       body .

   16                Q.   Okay.   You -- you made a good point earlier

   17       and that is that Mr. Clowdus was sitting at that -- that

   18       very front bulkhead where there's -- there's no carry-on

   19       baggage storage in front of him.

   20                A.   Yes .

   21                Q.   During these first two interactions with the

   22       flight attendant, did you ever -- ever observe

   23       Mr . Clowdus making any effort to stow his bag in the

   24       overhead bin?

   25                A.   No.

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                                                                      Page 16

    1              Q.      How clear of a view did you have of

    2       Mr. Clowdus from where you were sitting?

    3              A.      Well,    I -- like,      I was -- at this point I'm

    4       deliberately looking at what's going                 at what is going

    5       on, so a pretty clear view.

    6              Q.      Okay.    Now, you -- you said that -- that

    7       Mr. Clowdus swung his bag into the flight attendant.

    8              A.      Uh-huh, yes.

    9              Q.      Where was the flight attendant

  10               A.      He was        he was sitting -- he was -- sorry.

  11        He was standing.        Like, at the point I was making my --

  12        my reference point to -- to point out where people were

  13        sitting, he was standing looking towards the back of the

  14        plane with his body slightly to the side.               So -- so his

  15        body would have been facing towards the -- the -- the

  16        the seat where Mr. Clowdus was -- was sitting down.

  17               Q.      Okay.    And as Mr. Clowdus swung this bag

  18        towards the flight attendant, could you see where he was

  19        looking?

  20               A.      Oh, yeah.      He was looking at the flight

  21        attendant.

  22               Q.      Okay.    And when he swung this bag over to the

  23        flight attendant, was it -- could you tell if it was an

  24        effort to hand the bag?            Was it a full arm extension

  25        swing?      What -- what exactly did you see?

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                                                                          Page 18

    1       swung towards the left side, and after the bag makes

    2       contact, the bag recoils towards the front .

    3             Q.   Towards the front of the aircraft?

    4             A.   Yeah.    And then downwards.             You know, gravity.

    5             Q.   All right .      Okay.     As Mr. Clowdus was swinging

    6       his bag towards the flight attendant, did he ever look

    7       away from the flight attendant?

    8             A.   I couldn't tell .         I'm sorry .      I can't tell.

    9             Q.   What was the flight attendant's reaction,

   10       if -- if you saw?

   11             A.   Oh, yeah.

   12             Q.   What was his reaction?

   13             A.   He, like, froze for a second and then he -- he

   14       left the -- left the area walking towards the cockpit.

   15             Q.   Do you know what the flight attendant did in

   16       the cockpit area?

   17             A.   No.

   18             Q.   Okay.    Did you overhear any conversations

   19       between the -- the flight attendant and whoever he went

   20       to speak with?

   21             A.   No.

   22             Q.   Okay.    Did you see or hear any other reaction

   23       of the flight attendant

   24             A.   No.

   25             Q.   -- at that time?

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                                                                        Page 20

    1             Q.      Yeah, sure.

    2             A.      Okay .   The security guard sort of just stood

    3       there waiting for Mr . Clowdus to gather his belongings

    4       and escorted him out of the plane.

    5             Q.      Okay .   And then did -- did -- did the plane

    6       depart or were there any other events that occurred that

    7       you recall?

    8             A.      Well, the -- like, the -- like, there were

    9       still some -- some, like, preflight checks that were

   10       still y et to be done, so the -- like, let's say the

   11       boarding -- the boarding process wasn't over --

   12             Q.      Okay .

   13             A.      -- so to speak.        So, y eah, a couple of minutes

   14       later the -- the plane -- the plane left the gate.

   15             Q.      Okay .   Can you describe the flight -- the male

   16       flight attendant, can you describe his demeanor

   17       throughout this entire incident?

   18             A.      Yeah.    Like, he was perfectly cordial .

   19             Q.      Okay.    Would you describe him as professional?

   20             A.      Yes, yes .    I was         I was actually quite

   21       impressed by his reaction once he was hit.             I would         I

   22       would describe him as extremely professional.             Yeah.

   23             Q.      Okay.    And the same question with respect to

   24       Mr . Clowdus' conduct during this entire incident .              How

   25       would you describe his demeanor and conduct?

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                                                                            Page 21

    1                A.      Other than the fact that he             he swung around

    2       the thing to hit the flight attendant, he                   like, he

    3       didn't argue at all when he was asked to deboard the

    4       plane, so he complied peacefully.

    5                Q.      Okay.   Would it be fair to describe his

    6       conduct as an angry toddler being forced to give up his

    7       favorite toy?

    8                A.      Yeah.

    9                        MR. WOODROW:       Objection.

   10                Q.      Mr. Woodrow, who's -- who's attending this

   11       deposition has attempted to communicate with you on a few

   12       occasions and you've declined those -- those invitations .

   13       Can you tell the jury why that was?

   14                A.      Of course.      I have -- I have his email right

   15       here .        Can I read out some -- a piece of the email he

   16       sent me?

   17                Q.      What I would like to do is -- is             is get

   18       your general impression first and then we may be able to

   19       read the email.

   20                A.      Okay.   So my first interaction with him was

   21       through a text message where he asked me to verify

   22       whether or not my email -- the email address that he had

   23       been provided by American Airlines was correct or not.

   24       So I -- I provided the correct email account because he

   25       had a typo on the email he was attempting to -- to

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                                                                    Page 57

    1               A.   I do not recall.

    2               Q.   What kind of face mask was he wearing?

    3               A.   He was wearing a cloth face mask.

    4               Q.   Okay.

    5               A.   Black with white motifs.

    6               Q.   Black with white what?

    7               A.   Motifs.

    8               Q.   What's a motif?          Can you describe that?

    9               A.   Yes.     Motifs are little designs that are

   10       repeated through a fabric or -- or usually paints or

   11       wallpaper.

   12               Q.   Okay.     What -- what kind of -- is it, like,

   13       herringbone or is it, like, curly?

   14               A.   I -- I don't recall so much as that.

   15               Q.   Oh, well, you -- well, you have amazing

   16       recall, Mr. Quintana, so I'm just trying to see just how

   17       deep that goes.

   18                    And -- and you say that his -- his mask was

   19       being improperly worn at the time when you --

   20               A.   It was

   21               Q.       saw him.

   22               A.       indeed.

   23               Q.   And how was it being improperly worn?

   24               A.   It was only covering his mouth and not his

   25       nose.

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                                                                         Page 66

    1               Q.   And how completely could you see him?

    2               A.   I could see maybe -- if we're going through

    3       percentage, maybe some 30, 35 percent of him.              A little

    4       less than half of       of -- of his total body.           But I

    5       could see him pretty well on -- I could see his -- the

    6       the side -- his side pretty well.

    7               Q.   And -- and -- and where were you looking to be

    8       able to      to see him?   Were you looking between the

    9       seats? around the seats?

   10               A.   From where I was sitting?            Are you asking

   11       that?

   12               Q.   Yes .

   13               A.   I was -- I was sort of peeking up like this to

   14       be able to see properly because the -- the -- the -- the

   15       seats in -- in business sort of go up to my nose .             So I

   16       was, like, trying to get from this vantage point, so

   17       under my chin.

   18               Q.   So -- so you were very interested in what was

   19       going on at this point.

   20               A.   Yes .

   21               Q.   Okay.   And -- and what was -- what was the

   22       second interaction?     Could you describe that to me?

   23               A.   Yeah.   The second -- the -- the second

   24       interaction was, again, the flight attendant having to go

   25       over to his seat to -- to relay instructions .             And -- and

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                                                                                Page 67

    1       this second time the instructions were,                    "Please put on

    2       your face mask .             And, sir, I'm going to need to put

    3       that -- I'm going to need you to put that carry-on on

    4       on the overhead bin."

    5                Q.    So the second time you heard the flight

    6       attendant speak about the -- about the carry-on?

    7                A.    Yes .         The -- the plane was a little quieter by

    8       then .

    9                Q.    Okay.          Now, what -- what was making the plane

   10       quieter by then?

   11                A.    People -- people finishing setting up their

   12       stuff and settling down, finishing up exchanging

   13       pleasantries with fellow passengers.

   14                Q.    Okay.

   15                A.    This is -- this is my guess .

   16                Q.    And so what, specifically, did you -- did you

   17       hear the flight attendant say?

   18                      MR. KOLB:          Objection.

   19                      Asked and answered.

   20                A.    I    --   I       I think I already told you that .

   21                Q.    You -- you said that he -- he said,                "Sir,

   22       please -- please situate your mask and your bag will need

   23       to go up . "       Is that correct?

   24                A.    Uh-huh, something along those lines, yes.

   25                Q.    And what did the passenger say?

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                                                                    Page 69

    1              Q.    And this was the aisle seat?

    2              A.    Yes.

    3              Q.    Okay.   And describe to me the third

    4       interaction, then.

    5              A.    The -- by the time the third interaction

    6       happened the flight attendant approached him and he said

    7       something along the lines of,           "Sir, please don't make me

    8       tell you again.      I'm going to need you to put on your

    9       face mask correctly and stow your carry-on on the

   10       overhead bin."

   11              Q.    This is the third and final interaction that

   12       you've overheard; is that correct?

   13              A.    Yes, sir.

   14              Q.    And so this is the -- this is the interaction

   15       that involved the -- the incident with the bag; is that

   16       correct?

   17              A.    Yes, sir.

   18              Q.    Okay.    So is it your testimony that he -- he,

   19       once again, instructed him about the mask and then asked

   20       him about the bag?

   21              A.    Yes.

   22              Q.    And please -- please give me the -- the

   23       precise words that he used regarding the bag.

   24              A.    I don't think I recall the -- the exact words

   25       he used.

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Case 1:21-cv-23155-KMM Document 37-2 Entered on FLSD Docket 05/10/2022 Page 15 of 17



                                                                     Page 80

    1       seated?

    2             A.     Only very slightly .      It was halfway blocked .

    3             Q.     How -- how much of his lap do you recall?

    4             A.     Maybe a little bit of the left side of his

    5       leg -- of his left leg .

    6             Q.     Okay.   And could you hear -- after the

    7       incident with the bag, what -- what did the flight

    8       attendant do?

    9             A.     He -- he sort of -- he sort of froze.        You

   10       know, that      I'm being speculative here; right?        But you

   11       know that flight -- or fight or flight -- you know that

   12       response?    He sort of froze in place for a second and it

   13       took him, like -- like an instant to, like, register what

   14       had happened, and then he just left towards the -- the

   15       front of the plane .

   16             Q.     Now -- now during this -- this incident, as it

   17       unfolded, why -- why were you paying such close attention

   18       to this interaction prior to knowing that there was some

   19       good drama to be observing?

   20             A.     Oh, I -- I wanted to make sure that people

   21       were wearing their face coverings.

   22             Q.     So you testified that the -- the interaction

   23       began with him saying,     "Put your mask on correctly . "

   24       Now, could you see whether he was wearing his mask

   25       correctly from where you were sitting?

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Case 1:21-cv-23155-KMM Document 37-2 Entered on FLSD Docket 05/10/2022 Page 16 of 17



                                                                         Page 81

    1             A.     He -- yeah.     By the time the third interaction

    2       happened, he was still not wearing his face mask over --

    3       over his nose.

    4             Q.     And you could observe that from where you were

    5       buckled in 4A --

    6             A.     Yes.

    7             Q.     -- or 4F?

    8             A.     Yeah, uh-huh.

    9             Q.     Okay.     And was

   10             A.     Yeah --

   11             Q.     -- that bothering you?

   12             A.     Yes, very much so, yes.

   13             Q.     And so were you -- were you really keyed in on

   14       this passenger for -- for this particular reason?

   15             A.     No, I don't think so.          I just wanted to make

   16       sure that I had a safe flight home.

   17             Q.     Okay.     And could you see where the passenger

   18       was looking when -- when he was addressed by the flight

   19       attendant?

   20             A.     As he was being addressed --

   21                    MR. KOLB:     Object to form .

   22             A.     -- by the flight attendant?            I think --

   23             Q.     Yes .

   24             A.     -- he was looking at the flight attendant.

   25             Q.     Okay.     You think he was or you -- or you have

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Case 1:21-cv-23155-KMM Document 37-2 Entered on FLSD Docket 05/10/2022 Page 17 of 17



                                                                           Page 83

    1             A.      Do you want me to -- to retell what I saw?

    2             Q.      Yes .    Did -- did you         did the flight

    3       attendant say anything to the passenger at that point or

    4       did he -- did he just leave?

    5             A.      He just left.

    6             Q.      Okay.    And that -- how long did it take him to

    7       just leave?

    8             A.      Less than a second.         It -- it was just his --

    9       his reaction to what happened and then he instantly left.

   10             Q.      Okay.     So did you -- did you observe the

   11       passenger's response to this interaction?

   12             A.      No.

   13             Q.      So you didn't observe the passenger's demeanor

   14       at this point?

   15             A.      No.     I was -- I was -- I was trying to figure

   16       out what the flight attendant was going to do, so I was

   17       trying to look for him.

   18             Q.      Okay.    And then -- and then what did the

   19       flight attendant do?        He -- he went -- he went forward,

   20       you testified.        And then what -- and then did he say

   21       anything?     Did you overhear anything

   22             A.      No.

   23             Q.      -- at that point?

   24             A.      No, no, no.

   25             Q.      Okay.

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